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                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10          MERCHANTS NATIONAL                             CASE NO. C24-285 MJP
            BONDING, INC.,
11                                                         ORDER OF ON MOTION TO SET
                                  Plaintiff,               ASIDE DISMISSAL
12
                     v.
13
            PRIMECOM USA LLC,
14          SOONYEONG LEE, and KYUNGMI
            LEE,
15
                                  Defendants.
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            This matter comes before the Court on Plaintiff’s Motion to Set Aside Order of Dismissal
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     (Dkt. No. 25.) Having reviewed the Motion, which Defendants do not oppose, the Court
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     GRANTS the relief and amends its Dismissal Order to specify that dismissal is WITHOUT
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     PREJUDICE and WITHOUT COSTS to any party. The other elements of the Dismissal Order
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     shall remain in effect.
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            \\
23
            \\
24


     ORDER OF ON MOTION TO SET ASIDE DISMISSAL - 1
             Case 2:24-cv-00285-MJP Document 26 Filed 06/21/24 Page 2 of 2




 1         The clerk is ordered to provide copies of this order to all counsel.

 2         Dated June 21, 2024.

 3                                                       A
                                                         Marsha J. Pechman
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                                                         United States Senior District Judge
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     ORDER OF ON MOTION TO SET ASIDE DISMISSAL - 2
